     Case 1:22-cr-00162-TNM Document 23 Filed 05/27/22 Page 1 of 9




                                                       U.S. Department of Justice

                                                       Matthew M. Graves
                                                       United States Attorney

                                                       District of Columbia


                                                       Judicia,y Center
                                                       555 Fourth Sr., N,W.
                                                       Washington, D.C. 20530



                                                      December 14, 2021

By e-mail ara llalversor11@fd. rg
Cara Kurtz Halverson
FEDERAL PUBLIC DEFENDER
625 Indiana Ave NW
Suite 550
Washington, DC 20004

                       Re:    United States v. Matthew Bu kier 1 :22-cr-00162-TNM- L

Dear Ms. Halverson:

        This letter sets forth the full and complete plea offer to your client, Matthew Buckler
(hereinafter referred to as "your client" or "defendant"), from the Office of the United States
Attorney for the District of Columbia (hereinafter also referred to as "the Government" or "this
Office"). This plea offer expires on February 18, 2022. If your client accepts the terms and
conditions of this offer, please have your client execute this document in the space provided below.
Upon receipt of the executed document, this letter will become the Plea Agreement (hereinafter
referred to as "this Agreement"). The terms of the offer are as follows:

       1.      Charge.sand Statutory Penalties

        Your client agrees to plead guilty to Count One of an Information, charging your client
with Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40, United
States Code, Section 5104(e)(2)(G).

       Your client understands that a violation of Title 40, United States Code, Section
5104(e)(2)(G) carries a maximum sentence of six (6) months of imprisonment, pursuant to 40
U.S.C. § 5109(b); a term of probation of not more than five (5) years, pursuant to 18 U.S.C. §
356l(c); a fine of not more than $5,000, pursuant to 18 U.S.C. § 3571(b)(6); and an obligation to
pay any applicable interest or penalties on fines and restitution not timely made.
Case 1:22-cr-00162-TNM Document 23 Filed 05/27/22 Page 2 of 9
Case 1:22-cr-00162-TNM Document 23 Filed 05/27/22 Page 3 of 9
Case 1:22-cr-00162-TNM Document 23 Filed 05/27/22 Page 4 of 9
Case 1:22-cr-00162-TNM Document 23 Filed 05/27/22 Page 5 of 9
Case 1:22-cr-00162-TNM Document 23 Filed 05/27/22 Page 6 of 9
Case 1:22-cr-00162-TNM Document 23 Filed 05/27/22 Page 7 of 9
Case 1:22-cr-00162-TNM Document 23 Filed 05/27/22 Page 8 of 9
Case 1:22-cr-00162-TNM Document 23 Filed 05/27/22 Page 9 of 9
